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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KALOMA CARDWELL,

                               Plaintiff,
        v.
                                                       19 Civ. 10256 (GHW)
 DAVIS POLK & WARDWELL LLP,
 THOMAS REID, JOHN BICK, WILLIAM
                                                       ORAL ARGUMENT REQUESTED
 CHUDD, SOPHIA HUDSON, HAROLD
 BIRNBAUM, DANIEL BRASS, BRIAN
 WOLFE, and JOHN BUTLER,

                               Defendants.




                                  NOTICE OF DEFENDANTS’
             PARTIAL MOTION TO DISMISS THE AMENDED COMPLAINT

               Please take notice that, upon the pleadings and papers in this matter, the

accompanying memorandum of law, and the declaration of Susanna Buergel dated April 30, 2020

and accompanying exhibits, defendants Davis Polk & Wardwell LLP, John Bick, Harold

Birnbaum, Daniel Brass, John Butler, William Chudd, Sophia Hudson, Thomas Reid, and Brian

Wolfe will move before the Honorable Gregory H. Woods, at the United States Courthouse, 500

Pearl Street, New York, New York 10007, at a date and time to be determined by the Court, for an

order pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure granting defendants’ partial

motion to dismiss all claims asserted in the amended complaint filed in this action on March 2,

2020. The grounds for this motion are set forth in the accompanying memorandum of law.

Defendants respectfully request that the Court schedule oral argument on this motion.
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Dated:       April 30, 2020
             New York, New York

                                  Respectfully submitted,


                                  PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP


                                  By: /s/ Bruce Birenboim
                                    Bruce Birenboim
                                    Jeh C. Johnson
                                    Susanna Buergel
                                    Marissa C.M. Doran

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                                  Attorneys for Defendants
